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July 13, 2015

To the Sentencing Judge:

I am writing to plead for your leniency when sentencing Muneeb
and Sohaib Akhter, who are my nephews.

I am a 32-year-old alumni of George Mason University currently
residing in Illinois. I graduated with a Bachelor of Science in
Health Systems Management in 2004 and have worked most recently
for the Adventist Health System as Team Lead of the Radiation
Oncology Department. I grew up in Virginia and have known Muneeb
and Sohaib since they were born. Immediately, my sister and I
had a connection with them and spent every minute we could with
them when they were babies. My sister and I are identical twins
as well, so it was amazing to be able to share our experiences
with Muneeb and Sohaib growing up. I have watched these boys
grow into incredibly smart, responsible, and respectable young
men who care a great deal about their friends, family, and
community.

In 2004, they both walked me down the aisle at my wedding. Since
then, I have had three children, my eldest being born with Down
Syndrome in 2005. This year, when we were dealing with our
daughter's school district segregating her in school and not
allowing her to be included with her general education typical
peers, Muneeb and Sohaib assisted with signing and sharing our
petition to get others to fight the injustice. With their help,
we were able to get the school district to overturn their
original decision to keep our daughter segregated, and she will
now be fully included in her home school this August.

Most recently, I was in Virginia attending a conference and found
myself an hour away from my hotel on a Saturday night. My friend
suggested I call Uber to get a ride, but I did not feel
comfortable doing this. Muneeb and Sohaib didn't hesitate at all
and came to my friend's house, picked me up, and drove me to my
hotel. This is just one small example among many of how they go
out of their way to help others.

I am aware of the events regarding Muneeb and Sohaib's guilty
plea and I can assure you that these recent circumstances are not
indicative of the kind of people they are. They made a terrible
mistake, for which they are tremendously remorseful, and I can
only hope that will weigh heavily on your mind when you make your
final decision.

Muneeb and Sohaib are the eldest children in their family and are
responsible for taking care of their grandmother, mother, and two
younger sisters. I ask that you please use your best judgment,
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but make it possible that Muneeb and Sohaib are able to return to
their family as soon as possible.
Thank you for your time.
Sincerely,

Saadia Qureshi
